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                            e.   Hospitals and/or units which close or withdraw from the Medicaid Program
                                 shall become ineligible for further DSH pool payments for the remainder of
                                 the current DSH pool payment cycle and thereafter.




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                         3) In the event it is necessary to reduce the amount of disproportionate share
                            payments to remain within the federal disproportionate share allotment for this
                            group, the Department shall calculate a pro rata decrease for each public non-rural
                            community hospital based on the ratio determined by dividing that hospital's
                            uncompensated cost by the total uncompensated cost for all qualifying public non-
                            rural community hospitals during the state fiscal year; and then multiplying by the
                            amount of disproportionate share payments calculated in excess of the federal
                            disproportionate allotment.

                         4) It is mandatory that hospitals seek all third party payments including Medicare,
                            Medicaid and other third party carriers and payments from patients. Hospitals
                            must certify that excluded from net uncompensated cost are any costs for the care
                            of persons eligible for Medicaid at the time of registration. Hospitals must
                            maintain a log documenting the provision of uninsured care as directed by the
                            Department. Hospitals must adjust uninsured charges to reflect retroactive
                            Medicaid eligibility determination.

                         5) A hospital receiving DSH payments shall furnish emergency and nonemergency
                            services to uninsured persons with family incomes less than or equal to 100
                            percent of the federal poverty level on an equal basis to insured patients.

                         6) Aggregate DSH payments for hospitals that receive payment from this category,
                            and any other DSH category, shall not exceed the hospital’s specific DSH limit. If
                            payments calculated under this methodology would cause a hospital’s aggregate
                            DSH payment to exceed the limit, the payment from this category shall be capped
                            at the hospital’s specific DSH limit. The remaining payments shall be
                            redistributed to the other hospitals in accordance with these provisions.




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     DSH REIMBURSEMENT METHODOLOGIES (continued)

     f. Louisiana Low-Income Academic Hospitals

      Qualifying Criteria

      A. Hospitals Located Outside of the Baton Rouge and New Orleans Metropolitan Statistical Area

         Effective for dates of service on or after July 1, 2016, a hospital may qualify for this category by:
         1.     being a private acute care general hospital that is located outside of the Baton Rouge and New Orleans
                Metropolitan Statistical Area (MSA) which are University Health Shreveport, University Hospitals and
                Clinics, Our Lady of the Angels, Lake Charles Memorial Hospital, and University Health Conway and:
                • increases its provision of inpatient Medicaid and uninsured services by providing services that were
                    previously delivered and terminated or reduced by a state owned and operated facility; or
                • is formerly a state owned and operated hospital whose ownership change to non-state privately
                    owned and operated prior to July 1, 2014;
        2.      having Medicaid inpatient days utilization greater than 18.9 percent. Qualification shall be calculated
                by dividing the Medicaid inpatient days by the total inpatient days reported on the Medicaid as filed
                cost report ending during state fiscal year (SFY) 2015, received by April 30, 2016, and shall include
                traditional, shared, and managed care Medicaid days per the worksheet S-3 part I, lines 1 through 18.
                Column 7 shall be used to determine allowable Medicaid days and column 8 shall be used to determine
                total inpatient days; and
        3.      having a ratio of intern and resident full time equivalents (FTEs) to total inpatient beds that is greater
                than .08. Qualification shall be based on the total inpatient beds and intern and resident FTEs reported
                on the Medicare/Medicaid cost report ending during SFY 2015. The ratio of interns and resident FTEs
                shall be calculated by dividing the unweighted intern and resident FTEs as reported on the Medicare
                Cost Report Worksheet E-4, Line 6 by the total inpatient beds, excluding nursery and Medicare
                designated distinct part psychiatric unit beds, reported on worksheet S-3, column 2, lines 1 through 18.

      B. Hospitals Located In the New Orleans Metropolitan Statistical Area

         Effective for dates of service on or after July 1, 2016, a hospital may qualify for this category by:
         1.    being a private acute care general hospital that is located in the New Orleans MSA which is University
               Medical Center- New Orleans and:
              • increases its provision of inpatient Medicaid and uninsured services by providing services that were
                  previously delivered and terminated or reduced by a state owned and operated facility; or
              • is formerly a state owned and operated hospital whose ownership changed to non-state privately
                  owned and operated prior to July 1, 2014;

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      2.     having Medicaid inpatient days utilization, greater than 45 percent. Qualification shall be calculated by
             dividing the Medicaid inpatient days by the total inpatient days reported on the Medicaid as filed cost
             report ending during SFY 2015, received by April 30, 2016, and shall include traditional, shared, and
             managed care Medicaid days per the worksheet S-3 part I, lines 1 through 18. Column 7 shall be used to
             determine allowable Medicaid days and column 8 shall be used to determine total inpatient days; and
      3.     having a ratio of intern and resident FTEs to total inpatient beds that is greater than 1.25. Qualification
             shall be based on total inpatient beds and intern and resident FTEs reported on the Medicare/Medicaid
             cost report ending during SFY 2015. The ratio of interns and resident FTEs shall be calculated by
             dividing the unweighted intern and resident FTEs as reported on the Medicare Cost Report Worksheet E-
             4, Line 6 by the total inpatient beds, excluding nursery and Medicare designated distinct part psychiatric
             unit beds, reported on worksheet S-3, column 2, lines 1 through 18.

      Payment Methodology

      A.     Each qualifying hospital shall be paid DSH adjustment payments equal to 100 percent of allowable
             hospital specific uncompensated care costs
             1. Costs, patient specific data and documentation that qualifying criteria is met shall be submitted in a
                 format specified by the Department.
             2. Costs and lengths of stay shall be reviewed by the Department for reasonableness before payments are
                 made.
      B.     For the initial year’s payment calculation, each qualifying hospital shall submit interim actual cost data
             calculated utilizing Medicaid allowable cost report principles, along with actual Medicaid and uninsured
             patient charge data. Annual Medicaid costs shortfalls and unreimbursed uninsured patient costs are
             determined based on review and analysis of these submissions. For subsequent year’s payment
             calculations, the most recent Medicaid filed cost report along with actual Medicaid and uninsured patient
             charge data annualized from the most recent calendar year completed quarter is utilized to calculate
             hospital specific uncompensated care costs.




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      C.     The Department shall review cost data, charge data, lengths of stay and Medicaid claims data per the
             MMIS system for reasonableness before payments are made.
      D.     The first payment of each fiscal year will be made by October 15 and will be 80 percent of the annual
             calculated uncompensated care costs. The remainder of the payment will be made by June 30 of each
             year. Reconciliation of these payments to actual hospital specific uncompensated care costs will be made
             when the cost report(s) covering the actual dates of service from the state fiscal year are filed and
             reviewed. Additional payments or recoupments, as needed, shall be made after the finalization of the
             CMS mandated DSH audit for the state fiscal year.
      E.     No payment under this section is dependent on any agreement or arrangement for providers or related
             entities to donate money or services to a governmental entity.
      F.     A pro rata decrease necessitated by conditions specified in l.D.2.a. above for hospitals described in this
             section will be calculated based on the ratio determined by dividing the hospital's uncompensated costs by
             the uncompensated costs for all qualifying hospitals in this section, then multiplying by the amount of
             disproportionate share payments calculated in excess of the federal DSH allotment. Additional payments
             shall only be made after finalization of the CMS mandated DSH audit for the state fiscal year. Payments
             shall be limited to the aggregate amount recouped from the qualifying hospitals in this section based on
             these reported audit results. If the hospitals' aggregate amount of underpayments reported per the audit
             results exceeds the aggregate amount overpaid, the payment redistribution to underpaid shall be paid on a
             pro rata basis calculated using each hospital’s amount underpaid divided by the sum of underpayments for
             all hospitals in this section.




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